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                 Exhibit 13
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 1           UNITED STATES DISTRICT COURT

 2           FOR THE WESTERN DISTRICT OF NEW YORK

 3           ----------------------------------------------

 4           BLACK LOVE RESISTS IN THE RUST, et al.,
             individually and on behalf of a class of
 5           all others similarly situated,

 6                                         Plaintiffs,

 7            -vs-                                   1:18-cv-00719-CCR

 8           CITY OF BUFFALO, N.Y., et al.,

 9                                         Defendants.

10           ----------------------------------------------

11             EXAMINATION BEFORE TRIAL OF JOSEPH GRAMAGLIA

12                            APPEARING REMOTELY FROM

13                             ERIE COUNTY, NEW YORK

14

15

16                               September 22, 2023

17                             9:05 a.m. - 5:15 p.m.

18                               pursuant to notice

19

20

21           REPORTED BY:

22           Carrie A. Fisher, Notary Public

23           APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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 1            services, and the housing officers worked out

 2            of a housing station which is the station that

 3            I used to work at when I was a housing officer

 4            from '94 to '96 and their primary function was

 5            to patrol the housing developments and respond

 6            to any issues that the BMHA hierarchy --

 7            concerns that they had.

 8       Q. A n d a s d e p u t y c o m m i s s i o n e r f o r o p e r a t i o n s ,

 9            were you part of the Housing Unit command

10            structure?

11       A. A n d f o r g i v e m e , I d o n ' t r e c a l l w h e n t h e y w e r e

12            disbanded.          I believe that I was at the time.

13            Honestly, I didn't look at the dates again.                                I

14            believe there was a short time frame I think

15            that I was.           So if you happen to know the date

16            that they were disbanded, you'd help me out.

17       Q. Y e s .     I believe that the Housing Unit was

18            disbanded around June of 2020 or July.

19       A. O k a y .    Yeah, so I would have --

20       Q. J u l y o f 2 0 2 0 .

21       A. S o I w o u l d h a v e b e e n r e s p o n s i b l e f o r t h e m f o r

22            two years.

23       Q. A n d s o w h a t w e r e y o u r r e s p o n s i b i l i t i e s w i t h




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 1           specifically about Internal Affairs complaints

 2           I think that we'll -- we will know that so

 3           maybe I can clarify the question.

 4                     I'm not necessarily -- I mean for this

 5           question I'm not speaking about Internal

 6           Affairs complaints, but were you aware

 7           generally of complaints by the tenants'

 8           council and by residents of -- about

 9           aggressive policing and unjustified stops by

10           Housing Unit officers?

11       A. I h a d h e a r d o f s o m e b u t n o t a l o t .

12       Q. A n d w h a t h a d y o u h e a r d ?

13       A. B a s i c a l l y i n a n u t s h e l l w h a t y o u ' r e s a y i n g ,

14           nothing of substance.

15       Q. S o y o u t h i n k a c o m p l a i n t o f a g g r e s s i v e

16           policing or unjustified stops is -- you would

17           characterize that as "nothing of substance"?

18                     MS. FREELY:           Objection to form.

19       A. T h a t ' s n o t w h a t I s a i d a t a l l .        What I'm

20           saying is not of substance is I'm not aware of

21           on a broader scale of complaints that had

22           substance.          If someone had a complaint, the

23           process is that they would bring that




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 1           complaint to Internal Affairs and it would be

 2           investigated.            There's a difference between

 3           somebody generally making a complaint on a

 4           general level of there is this occurring as

 5           opposed to someone says that I was subjected

 6           to this and file a specific complaint.

 7                      It is -- it's almost impossible to

 8           address generalized complaints based on what

 9           something that somebody says that they heard.

10           If there's a specific complaint and we were --

11           we always encourage if somebody has a

12           complaint to come into Internal Affairs, make

13           your complaints specific related to you or

14           something you have direct knowledge of and we

15           will investigate that.                  So I had heard

16           generally of complaints that would be made,

17           again, on a general basis.

18       Q. O k a y .

19       A. I f t h e r e w a s a s p e c i f i c c o m p l a i n t m a d e , t h a t

20           would come through the Internal Affairs.

21       Q. A n d h a d y o u h e a r d g e n e r a l l y c o m p l a i n t s t h a t

22           Housing Unit officers engaged in racially

23           discriminatory policing?




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 1                      MS. FREELY:          Objection to form.

 2       A. Y o u k n o w , t h e r e w e r e s o m e r e p o r t s i n t h e m e d i a

 3            of that but, again, I don't recall anything of

 4            actual substance that I was directly involved

 5            in.

 6       Q. B a s e d o n t h e r e p o r t s i n t h e m e d i a t h a t y o u

 7            were aware of, did you ever investigate

 8            whether Housing Unit officers were engaging in

 9            discriminatory policing?

10       A. T h e c o m p l a i n t s t h a t w e w o u l d h a v e i n v e s t i g a t e d

11            are complaints that would come into Internal

12            Affairs from a complainant or someone who has

13            direct knowledge of something that occurred.

14            It is very difficult to generally investigate

15            a complaint so -- and at that time I did not

16            have operational control over Internal Affairs

17            to be involved in that.                  You know, that -- I

18            guess that ground level awareness of anything

19            specific so, you know, when I say that I

20            generally heard of some things in the media,

21            it was not a lot.              I heard some reporting.

22       Q. A r e y o u a w a r e t h a t t h e t e n a n t s h a d r e p e a t e d l y

23            asked the common council to end the Housing




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 1           Unit contract because of discriminatory

 2           policing concerns?

 3       A. I t h i n k I m i g h t h a v e s e e n a r e p o r t o n t h e

 4           media about that.

 5       Q. A r e y o u a w a r e t h a t t h e s t a t e a t t o r n e y g e n e r a l

 6           Eric Schneiderman at the time is investigating

 7           the Buffalo Police Department's use of traffic

 8           enforcement and sweeps inside public housing

 9           developments?

10       A. N o .       Not -- no, I don't recall an

11           investigation of that.                  I was never brought in

12           for any informational sessions on that so my

13           answer would be no.

14       Q. A n d j u s t t o - - s t r i k e t h a t .      Strike that.

15                       I'm going to, let's see, introduce

16           Gramaglia 1.           Okay, and are you -- wait, is

17           this -- are you able to see this?

18       A. I a m .       I have to get a little closer to try to

19           read it.

20       Q. T h e r e w e g o .     Is that better?

21       A. Y e s .

22       Q. O k a y .     This is an email from Matthew Wrona to

23           you.        It's dated June 25th, 2018.




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 1           handled by Captain Rinaldo who handled the

 2           ordering, setting up the infrastructure and

 3           then getting the training to our training

 4           academy, conducting the training, getting them

 5           issued, you know, the docks -- again, part of

 6           the infrastructure of the docks within their

 7           respective station houses needed dedicated

 8           lines, you know, for upload purposes, things

 9           of that nature.             No, that was not handled by

10           me.

11       Q. A n d y o u w r o t e y o u r m a s t e r ' s t h e s i s o n

12           body-worn camera programs, right?

13       A. I w r o t e m y m a s t e r ' s t h e s i s o n o f f i c e r s '

14           perceptions on body-worn cameras.

15       Q. I n y o u r t h e s i s y o u d i s c u s s t h e i m p o r t a n c e o f

16           training to a successful body-worn camera

17           program, right?

18       A. Y e s .

19       Q. Y o u w r o t e :    "The most important part of the

20           training is to have a significant amount of

21           time spent on providing instruction on the

22           department policy and ensuring that each

23           department member is well-versed in all




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 1           aspects of the policy.                 This is extremely

 2           important because not following department

 3           policy could result in departmental charges

 4           against a member."

 5                     MS. FREELY:          Objection.

 6       Q. D o y o u s t i l l a g r e e w i t h t h i s s t a t e m e n t ?

 7                     MS. FREELY:          Objection to form.

 8       A. I d o a g r e e w i t h t h a t , y e s .

 9       Q. D i d t h e B P D i n v e s t a s i g n i f i c a n t a m o u n t o f

10           time instructing officers on the department's

11           body-worn camera policy?

12       A. I b e l i e v e w e d i d .     We still provide

13           instruction on that.                We've done training

14           bulletins, but the initial rollout is that

15           officers would come in for a training.                             Part

16           of that training is the nomenclature of the

17           body camera itself, how it operates, you know,

18           getting used to its operation and then the

19           policy itself and what that policy was.                             When

20           the signed agreement came out with the union,

21           we had to retrain the membership on that as

22           well so yes.           And every member of the

23           department has access to the policy and the




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 1             signed agreement.

 2        Q. A n d I w i l l s t a t e f o r t h e r e c o r d I k n o w t h a t w e

 3             have the policy, but I don't believe that the

 4             signed agreement has been produced in

 5             discovery in this litigation.

 6                       Do you think that the officers are now

 7             well-versed in the body-worn camera policy?

 8                       MS. FREELY:          Objection to form.

 9        A. I b e l i e v e t h a t t h e y a r e .      I think the union

10             president -- well, I'm not going to say what

11             he thinks but, yes, we have provided ample

12             training and, as I said, there is some

13             retraining that goes on as well.

14        Q. H a v e y o u e v e r b r o u g h t u p d e p a r t m e n t a l c h a r g e s

15             against officers for failing to adhere to the

16             body-worn camera policy?

17        A. Y e s .

18        Q. A n d h o w m a n y t i m e s h a v e y o u d o n e t h a t ?

19        A. I t h i n k l e s s t h a n a h u n d r e d o r a b o u t a

20             hundred.        I think it's -- I think the number

21             is under a hundred.

22        Q. A n d w h a t h a v e b e e n t h e p e n a l t i e s t h a t h a v e

23             resulted from those charges?




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 1        A. W e l l , t h a t ' s t h e s u b j e c t o f o n g o i n g

 2            arbitration.           We have had some officers that

 3            have accepted a penalty of suspension.                            We've

 4            had some officers that have accepted a penalty

 5            of a reprimand but ultimately the vast, vast,

 6            vast majority of the offers -- so the way our

 7            disciplinary process works is that if formal

 8            charges are lodged, the commissioner of police

 9            will sign charges.               The member in question is

10            served with those charges by Internal Affairs.

11                       We have to run what's called an informal

12            hearing within ten days of those charges being

13            returned back to us by the union.                            We run the

14            informal hearing where it's similar to in the

15            criminal world is a plea-bargain if you will.

16            An offer is conveyed to the member.                            They have

17            the choice of either accepting that offer or

18            not.

19                       In the vast majority of those cases,

20            they have not accepted that offer at the

21            urging I believe of the union because that's

22            been the subject of ongoing arbitration.                             Of

23            all those cases, we have held one formal




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 1             arbitration hearing where we actually went to

 2             a formal hearing.              The arbitrator found the

 3             particular officer in question in violation of

 4             the policy and issued a penalty of a formal

 5             reprimand.          We have, geez, I think maybe

 6             around 60 give or take that are pending formal

 7             arbitration and we have had many sessions in

 8             front of an arbitrator trying to work through

 9             the body camera policy, issues, discipline,

10             and so forth.

11        Q. A n d s i n c e y o u h a v e b e g a n b r i n g i n g d e p a r t m e n t a l

12             charges against officers for violations of the

13             body worn camera policy, have instances of

14             violation of the policy reduced?

15        A. O h , I t h i n k o u r - - h o w d o I w a n t t o p u t t h i s ?

16             I think yes.           I think the amount of

17             disciplinary cases has gone down at a pretty

18             decent rate since the beginning.                         You know, I

19             think the rollout of a program like this, and

20             you're going to see this nationwide, you know,

21             it takes time for that technology and there's

22             something called muscle memory, you know,

23             where the officer has to get used to




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 1             activating those cameras.                    You know, that was

 2             the initial, you know, issue in the beginning

 3             but, yeah, we have gotten better.

 4        Q. I t s o u n d s l i k e t h e d e p a r t m e n t t a k e s a d h e r e n c e

 5             to the body-worn camera policy pretty

 6             seriously.          Would you agree with that?

 7                       MS. FREELY:          Objection to form.

 8        A. I w o u l d a g r e e w i t h t h a t .

 9        Q. A n d w h y d o y o u t h i n k i t ' s i m p o r t a n t t o e n f o r c e

10             the body-worn camera policy?

11        A. N u m b e r 1 , i t ' s p o l i c y .     If we put out policy,

12             then you have to adhere to the policy.                            Number

13             2, it's transparency.                 You know, the -- far

14             and away, the vast majority of those videos

15             that are produced show that the officers are

16             acting in accordance with department policy.

17             There are very few instances that I've seen

18             where the body-worn cameras have shown or

19             produced or resulted in an officer violating

20             policy.        Evidence gathering, obviously it's

21             extremely important in a criminal proceeding

22             to have that evidence, video evidence to be

23             able to show what happened so, you know, those




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 1            cameras are extremely necessary.

 2                       You know, I think you go back years when

 3            body-worn cameras were coming on the scene,

 4            you know, the attitudes and the perceptions of

 5            officers were that they did not want them.

 6            And I think if you talk to a lot of officers

 7            nowadays, the vast majority of officers are

 8            happy to have them, want them, and want to

 9            show the public what's actually occurring out

10            there.

11        Q. D o y o u t h i n k t h a t o f f i c e r s a r e g e n e r a l l y a w a r e

12            that the body-worn camera policy is enforced?

13                       MS. FREELY:          Objection to form.

14        A. Y e s .

15        Q. A n d d o y o u t h i n k t h a t r e s u l t s i n g r e a t e r

16            adherence to the policy?

17        A. I b e l i e v e i t h a s r e s u l t e d i n g r e a t e r

18            adherence.

19        Q. W e t a l k e d a l i t t l e b i t a b o u t t h i s b e f o r e , b u t

20            did George Floyd's death and the protest

21            movement that followed change policing in

22            Buffalo?

23        A. I m e a n , t h e r e w e r e c h a n g e s m a d e t o s o m e




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 1            academy so I don't -- I don't recall

 2            specifically what that national organization

 3            would be.

 4        Q. A n d h a s s u c h a t r a i n i n g b y a n a t i o n a l

 5            organization taken place while you were

 6            commissioner?

 7        A. N o .    Not by a national organization, no.                            I

 8            brought in New York State on -- to update our

 9            training academy on implicit bias, brought

10            in -- there was an update and a change to that

11            training so we got the training staff the

12            newest training on that.                  We had done implicit

13            bias in the past but, you know, really I think

14            the best person to do some of that

15            constitutional stop training is the DA's

16            office who are the ones that have to prosecute

17            cases and run suppression hearings or handle

18            suppression hearings.

19        Q. A n d h o w o f t e n d o e s t h e D A ' s o f f i c e p r o v i d e

20            training on constitutional stops?

21        A. I d o n ' t k n o w .    I can't answer that question.

22            I don't know the last time that that would

23            have been done.             You know, training is a




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 1             of a criminal or a traffic or even a parking

 2             adjudication.

 3        Q. D o y o u r e c a l l m a k i n g c h a n g e s t o t h e B P D ' s

 4             tinted windows ticketing practices in 2020?

 5        A. M a k i n g c h a n g e s ?     No, not changes.           I'm not

 6             sure what you're referring to as -- well, I

 7             guess I will wait for your next question.

 8        Q. W e l l , s o m e t h i n g w e o b s e r v e d i s t h a t t i n t e d

 9             windows ticketing decreased and -- well, let

10             me ask:        Are you aware that around 2020

11             Buffalo Police Department officers started

12             issuing fewer tinted windows tickets?

13        A. W e l l , a g a i n , i f y o u r e c a l l i n 2 0 2 0 w e h a d

14             something called COVID which you will see that

15             all of our categories of tickets and traffic

16             stops significantly decreased, so that's one

17             of those years down the line that will have a

18             big asterisk next to it when it comes to

19             statistics for a lot of categories, not just

20             for policing but everything else in the world.

21        Q. B u t t h e B P D n e v e r i s s u e d a n y k i n d o f g u i d a n c e

22             or policy change that was directly concerning

23             tinted windows ticketing?




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 1        A. A p o l i c y c h a n g e , n o .       Tinted window tickets is

 2             a violation of the New York State Vehicle and

 3             Traffic Law.            Officers have discretion on

 4             whether or not they're going to issue a

 5             summons to a particular motorist or not so

 6             that's still to this day a violation of the

 7             vehicle and traffic law.

 8                       MS. FREELY:            I'd just like to note my

 9             objection on the record to the previous

10             question.          Thank you.

11                       MS. WILNER:            To what?         I'm sorry; I

12             didn't hear that.

13                       MS. FREELY:            To the previous question.

14        Q. S o i f t i n t e d w i n d o w s t i c k e t i n g d e c r e a s e d

15             after -- in response to COVID but then the

16             numbers stayed low, what would the reason --

17             what do you think would be the reason for

18             that?

19                       MS. FREELY:            Objection to form.

20        A. Y o u ' r e t a l k i n g s p e c i f i c a l l y t i n t e d w i n d o w

21             tickets?

22        Q. Y e s .

23        A. I d o n ' t k n o w .       I mean, officers have the




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 1            officer was out of procedure, out of line and

 2            then we would conduct an internal

 3            investigation on that.

 4                       MS. FREELY:         Claudia, do you want to --

 5            do you still have questions in this line of

 6            questioning?

 7                       MS. WILNER:         I do.      I just have one or

 8            two more questions and then we'll be ready to

 9            take a break if you don't mind.

10                       MS. FREELY:         Okay.      I am trying to go

11            off the record for a second.                    Peter just

12            walked in so we can switch off without taking

13            that break then.

14        Q. H a v e y o u e v e r b r o u g h t a n y b o d y u p o n

15            departmental charges for not complying with

16            the core principles in the traffic enforcement

17            policy?

18        A. S o t h e w a y y o u ' r e a s k i n g t h e q u e s t i o n , I t h i n k

19            we don't have a -- our rules and regulations

20            are pretty specific so, you know, there's a

21            rule that's charged typically when we have an

22            internal complaint called conduct.                         So we

23            don't have a rule and regulation that says you




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 1            violated the core principles of MOP chapter

 2            this section.

 3                       If there is a complaint that came in and

 4            somebody complained of say rudeness or, you

 5            know, how a particular encounter went down, if

 6            it -- if the conduct was what we would believe

 7            is not proper, we would bring a conduct charge

 8            and then we would cite a statement of facts of

 9            what that conduct was that we believe was a

10            violation of the officer's -- of the rules and

11            regulations.        So we don't have a rule and

12            regulation that would be formally charged

13            stating core principles of chapter this and

14            subsection that.

15                       Everything is very specific to a

16            situation, and then we would have to determine

17            whether or not it rose to the level of a

18            formal charge or if we believed that an

19            officer conducted a traffic stop and the core

20            principles weren't necessarily followed

21            because of, you know, some rude comments that

22            were made, that may open an Internal Affairs

23            investigation but it may only rise to the




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 1            level of a conference based on a, you know,

 2            prior history with the officer and being

 3            addressed at that point.                 So my long-winded

 4            answer is there is no rule and regulation

 5            specifically stating core principles.                        It's

 6            conduct or could be something else more in

 7            depth.

 8        Q. O k a y .      Thank you for that explanation.

 9        A. I t ' s a t o u g h w a y t o a n s w e r a q u e s t i o n s o . . .

10        Q. O k a y .      We can go ahead and take a five-minute

11            break now.

12        A. G r e a t .     Thank you.

13                         MR. SAHASRABUDHE:          Thanks.

14                          (A recess was taken.)

15            BY MS. WILNER:

16        Q. S o I ' d l i k e t o t a l k a l i t t l e b i t a b o u t

17            conferences.          This was something that came up

18            in our discussion just a few minutes ago.                              So

19            when a Internal Affairs complaint results in a

20            conference -- well, let me ask -- let me start

21            a different way.

22                         Was it your role when you were a deputy

23            police commissioner to conduct conferences




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 1             things of that nature.

 2        Q. W a s i t y o u r p r a c t i c e t o k e e p n o t e s o r r e c o r d s

 3             of the conference?

 4        A. N o .     They were verbal discussions, and then

 5             the only note would have been writing on the

 6             file the date and the time that the conference

 7             was held.

 8        Q. A n d d i d y o u e v e r r e c e i v e a n y t r a i n i n g o r

 9             guidance on how to conduct a conference?

10        A. J u s t f r o m t h e c o m m i s s i o n e r s t a t i n g w h a t - - y o u

11             know, what would occur in a conference, the

12             type of conversation that would be had.

13        Q. M e a n i n g t h a t t h e c o m m i s s i o n e r w o u l d t e l l y o u

14             what the conference should be about; is that

15             what you're saying?

16        A. Y e a h , t y p i c a l l y .   Yeah, yeah, typically.                 The

17             first conference that I would have conducted

18             when I was a district chief at B District and

19             then Commissioner Derenda would have sent a

20             file to me to conduct the conference with an

21             officer.

22        Q. I s e e .      So when you were the chief and you

23             were conducting conferences, you would have




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 1             officer's disciplinary history in preparation

 2             for a conference?

 3        A. N o t n e c e s s a r i l y i n p r e p a r a t i o n o f t h e

 4             conference.           I would look at it but because

 5             the determination has already been made by the

 6             commissioner of police looking at the

 7             disciplinary history to see if there was a

 8             history of this.              And if there was a history

 9             of similar conduct, chances are it wouldn't be

10             at a conference; it would rise to the level of

11             a formal charge which takes it into a

12             different realm at that point.

13        Q. W o u l d t h e o f f i c e r ' s d i s c i p l i n a r y h i s t o r y h a v e

14             any impact on your understanding of what

15             occurred during the incident?

16                       MR. SAHASRABUDHE:               Objection to form.

17        A. I g u e s s I ' m n o t s u r e w h a t y o u ' r e - - c a n y o u

18             ask that again, be a little more descriptive?

19             Are you asking if their disciplinary history

20             determines why this is a conference or how the

21             conversation is going to go?

22        Q. Y e a h , l e t ' s t a k e t h e s e c o n d q u e s t i o n .     Does

23             the -- did the officer's disciplinary history




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 1            have any impact on how a conversation with you

 2            would go?

 3        A. W e l l , i t g e t s t o t h e l e v e l o f a c o n f e r e n c e

 4            because there probably is no prior history

 5            related to that type of an offense, but we

 6            also through, again, the collective bargaining

 7            agreement and the disciplinary process within

 8            our department which is contractual, we have

 9            to mostly keep that conference specific to

10            that specific reason alone.

11                       Getting into older history, older cases,

12            things that have already been adjudicated or

13            dismissed would be cause for the officer to go

14            back to the union, reopen the case, and then

15            an arbitrator can come back, and has come

16            back, and would say that you have to keep the

17            conference specific to that specific

18            complaint.

19        Q. O k a y .

20        A. B e c a u s e i t ' s - - I d o n ' t w a n t t o u s e t h e t e r m

21            but I'm going to use the term.                    You have to be

22            careful of a double jeopardy situation where

23            you're reopening something that's already been




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 1             letting that district chief know and then

 2             usually that district chief would then come in

 3             and meet me.           So we're not talking about a lot

 4             of instances here, but the district chief

 5             would be in the conference with me when those

 6             times where they were conducted.                         There was

 7             not a lot of those, but that would occur.

 8        Q. W e l l , y o u t e s t i f i e d e a r l i e r t h a t t h e p u r p o s e

 9             of a conference was really for training,

10             right?

11        A. Y e s .

12        Q. A n d s o y o u w o u l d b e a d v i s i n g t h e o f f i c e r o f

13             how they should correct or improve their

14             behavior, right?

15        A. B a s e d o n t h e i n c i d e n t t h a t o c c u r r e d , y e s .

16        Q. W o u l d y o u t h e n i n f o r m t h e o f f i c e r ' s s u p e r v i s o r

17             of the corrections and improvements that

18             were -- that you as DPC thought were needed?

19                       MR. SAHASRABUDHE:              Form.

20        A. N o , i t n e e d s t o b e a d d r e s s e d w i t h t h e o f f i c e r

21             directly.

22        Q. B u t t h e n d o e s n ' t t h a t l e a v e t h e o f f i c e r ' s

23             supervisors unaware of issues and unable to




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 1            offer ongoing guidance and supervision around

 2            those issues?

 3                       MR. SAHASRABUDHE:           Objection to form.

 4        A. T h e w a y t h e s e a r e l a i d o u t i s t h a t w e c o n d u c t

 5            a conference with the specific member of the

 6            department.

 7                       You know, if it's for a car accident, we

 8            address, you know, what driving habit led to

 9            that particular situation, you know, short of

10            - I don't know if the officer is driving in a

11            reckless manner on a regular occasion and this

12            particular time they got in an accident, just

13            as much as I don't believe a -- having been a

14            district supervisor, a patrol supervisor for

15            five years, you know, if I saw something, if I

16            felt an officer was driving in a manner, I

17            would tell them at that time but we have to

18            address situations -- immediate supervisors

19            have to address situations if they see it at

20            the time.

21                       So if I told a supervisor, hey, I

22            conferenced him for their driving, I mean, the

23            supervisor is going to know that they were




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 1            involved in an accident; they were going to

 2            know they were being brought in for a

 3            conference.          You know, that's how it was

 4            addressed.         Going back to the supervisor and

 5            saying just so you know I told him -- you

 6            know, this is what I told him, it's not going

 7            to change their immediate supervision of

 8            that -- of that person.

 9        Q. W h a t a b o u t t h e e x a m p l e o f a c o m p l a i n t o f

10            rudeness that results in a conference and

11            you're advising the officer about their

12            behavior, do you talk to the supervisor about

13            the rudeness that was discussed at the

14            conference?

15        A. W e l l , t h e s u p e r v i s o r i s g o i n g t o b e a w a r e t h a t

16            a conference was being held with that officer,

17            but I would also fully expect any supervisor

18            in the police department that if they were at

19            a particular scene/situation and they

20            witnessed an officer being rude or going in a

21            direction that they were being rude, that they

22            would immediately address that.                      If it's not

23            in their presence, they're not going to know




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 1            either; we would then find out by way of a

 2            complaint so we can't be --

 3        Q. R i g h t .

 4        A. - - e v e r y w h e r e e v e r y t i m e t o s e e e v e r y

 5            situation.          Those have to be addressed by the

 6            on-scene supervisor if they see it.

 7        Q. Y e s , a n d I a m t a l k i n g a b o u t t h e s p e c i f i c

 8            circumstance in which there is an Internal

 9            Affairs complaint for rudeness and the

10            commissioner decides that that should be

11            resolved by a conference with you.                         You

12            conference the officer on their rudeness.                              Do

13            you then tell the lieutenant, hey, I just

14            spoke to Officer Smith about his rudeness; can

15            you keep an eye on him to make sure that he is

16            dealing with civilians and treating them with

17            respect?

18        A. N o , I - -

19                         MR. SAHASRABUDHE:           Form.

20        A. N o , I d o n ' t b e c a u s e i t ' s a l r e a d y e x p e c t e d t h a t

21            the lieutenant, if they witness an officer in

22            their command being rude that they are going

23            to address that so it's -- it would almost be




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 1            redundant.          Address it with the officer or a

 2            deputy commissioner or a chief would address

 3            that with the officer and the lieutenants are

 4            well aware of what's expected.                      And if the

 5            lieutenant stood by and watched somebody, one

 6            of their subordinates or any subordinate

 7            within the police department, conducting

 8            themselves in a manner, the lieutenant would

 9            be brought in for a statement and be subject

10            to an Internal Affairs investigation so it

11            would almost be redundant to tell the

12            lieutenant that I talked to the officer about

13            a situation.           Keep an eye on them, they're

14            supposed to.           That's their nature of their job

15            as a supervisor is to watch out for the

16            members of their command.                   They can't watch

17            somebody when they're not directly there at a

18            situation.          It's already expected of our

19            supervisors to do that.

20        Q. A n d w h a t i f t h e l i e u t e n a n t w a s n ' t t h e r e t o

21            witness the incident, would you then inform

22            the lieutenant about it?

23                       MR. SAHASRABUDHE:            Form.




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 1        A. I g u e s s m y q u e s t i o n b a c k t o y o u i s i f a

 2            lieutenant is not there to witness something,

 3            how are they supposed to know something --

 4            that the officer didn't conduct themselves in

 5            a certain manner?               So that would have to be

 6            the citizen coming in and filing a complaint.

 7                       I think just common sense dictates that

 8            I can't tell a supervisor to keep an eye out

 9            for an officer when they're not there to

10            actually see what's happening.                       We have to

11            rely on citizen complaints to bring officers'

12            conduct to our attention.                    But if a supervisor

13            is at a situation, the full expectation is

14            that they will address that at that time or

15            shortly thereafter and handle it

16            appropriately.             I can't expect a supervisor to

17            handle a situation if they're not there to be

18            a witness to it.

19        Q. S o a f t e r y o u c o n d u c t e d a c o n f e r e n c e , a n d w e ' r e

20            going to stick with the example of the

21            conference for rudeness, would you do any kind

22            of follow up?

23                       MR. SAHASRABUDHE:             Form.




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 1        A. A f o l l o w u p a f t e r t h e c o n f e r e n c e ?

 2        Q. Y e s .

 3        A. N o .       The case is resolved.

 4        Q. D i d y o u h a v e a n y s y s t e m s i n p l a c e t o m o n i t o r

 5            officers' conduct after a conference to see if

 6            they were comporting with the guidance that

 7            you gave them?

 8                        MR. SAHASRABUDHE:            Form.

 9        A. T h e r e i s n o s y s t e m i n p l a c e o t h e r t h a n a

10            complaint coming in to address how an officer

11            conducts themselves.                The body-worn cameras

12            are there so we can see the -- what previously

13            was unseen and it was a person-on-person

14            complaint, he said/she said is the common

15            term, but there's -- you know, there's no

16            system in place that can monitor what someone

17            is doing when nobody is watching.

18        Q. O k a y .     And I would like to take a look at some

19            conferences, some IAD files for conferences

20            that you conducted when you were the deputy

21            police commissioner.                And I'm going to

22            start -- this is going to be Gramaglia 6, and

23            this is the IAD file of Deandre Green.                           And I




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 1            certain things, sexual harassment, bloodborne

 2            pathogens, PESH, those are mandatory so

 3            sometimes we have to stop, detour, get into

 4            these mandatories before the year is up and

 5            then go back to some of these other things and

 6            then we hit other trainings.                     So I know there

 7            was an aggressive push, I think it was 2019,

 8            to get the department through that ABLE

 9            training.         I believe we got through a good

10            portion of it, at least the patrol force, but

11            I don't have the exact numbers.

12        Q. A n d h o w a b o u t t h e i m p l i c i t b i a s t r a i n i n g , h o w

13            many officers have taken the implicit bias

14            training?

15        A. I d o n ' t h a v e - -

16                       MR. SAHASRABUDHE:             Form.       Go ahead.

17        A. Y e a h , I d o n ' t h a v e t h e n u m b e r o f t h a t , b u t I

18            made that mandatory training departmentally.

19            And with those, we have five hours of New York

20            State mandated.             Implicit bias is one of those

21            that must be done every year so I don't have

22            the exact numbers but we got through a

23            significant number of the department.




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 1                       Keep in mind, you're not going to have

 2            everybody because you've got officers that

 3            are -- that might be on leave, some might be

 4            on long-term suspension, some are on a leave

 5            of absence, some are on long-term injury or

 6            sick leave so you're not going to get 100

 7            percent of the department.                      There's people we

 8            just are not going to be able to bring in for

 9            training for other reasons.

10        Q. O k a y .    I'd like to move on and look at another

11            file.       And actually while I'm calling it up,

12            for the implicit bias training, is that -- is

13            everybody required to take that training so

14            captains, chiefs, detectives, lieutenants, or

15            is it only for officers?

16        A. N o , e v e r y b o d y .

17        Q. A n d t h i s i s g o i n g t o b e G r a m a g l i a 8 , a n d t h i s

18            is the IAD file of Andre Wise.                       And this was a

19            complaint from October 2018, and this was

20            another one where you were directed to

21            conference the officers.                      The officers

22            involved were Shawn McCabe, Patrick McDonald,

23            and Lieutenant, how do you say his name,




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 1             that authorization but, you know, you still

 2             have to keep that in there for, you know, some

 3             safety reasons.              You know, there could

 4             hypothetically be an escaped prisoner where

 5             you have to set up traffic checkpoints.                               If

 6             you could pull up the section of the language

 7             and read it more specifically but, you know,

 8             having something in there and the

 9             authorizations that are required are two

10             different things.

11        Q. O k a y .     But under the MOP you could restart

12             those traffic safety checkpoints at any time,

13             right?

14        A. I ' d h a v e t h e a u t h o r i z a t i o n .    I could, yes.

15        Q. D o e s t h e B P D c o n d u c t p e r f o r m a n c e e v a l u a t i o n s

16             of officers?

17        A. C o n t r a c t u a l l y w e ' r e n o t a b l e t o , n o .      That's a

18             subject of union negotiations.

19        Q. O k a y .     And -- yeah, maybe I will come back to

20             that in a little bit.                  So aside from

21             performance evaluations, does the BPD evaluate

22             officers' performance in any way?

23        A. N o .       Subject to the union negotiations, we're




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 1             not contractually allowed to do evaluations.

 2        Q. D o y o u t h i n k t h a t i n s t i t u t i n g p e r f o r m a n c e

 3             evaluations would promote better training and

 4             supervision of officers?

 5                       MR. RUSS:          Objection to form.                You may

 6             answer.

 7        A. I d o .       We're -- it's no secret in the

 8             department that we are trying to get that.

 9        Q. A n d t h e p e r f o r m a n c e e v a l u a t i o n s a r e a c t u a l l y

10             required in order for the BPD to preserve its

11             accreditation, right?

12        A. S o w e h a v e a w a i v e r f r o m N e w Y o r k S t a t e

13             because it's outside of our control.

14        Q. B u t t h e w a i v e r w a s o n l y f o r a c e r t a i n p e r i o d

15             of time, right, and the waiver will expire?

16        A. N o , w e w o u l d h a v e t o a g a i n a p p l y .        We maintain

17             that application for a waiver so we are still

18             accredited and we are in compliance with our

19             accreditation.

20        Q. T h e c o n t r a c t i s u n d e r n e g o t i a t i o n n o w ?

21        A. Y e a h , t h e - - t h e l a s t a g r e e d u p o n c o n t r a c t

22             expired June 30th of 2019.                     It went into

23             binding interest arbitration which was settled




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 1            last year which was only two years so it

 2            covered from July 1st of '19 to June 30th of

 3            '21.       So by the time it was settled, it was

 4            already expired in itself so we are expired

 5            again and moving towards arbitration again.

 6        Q. O k a y .    And that particular arbitration that

 7            results in pay raises for officers but no

 8            performance evaluations, right?

 9        A. C o r r e c t .   That was the arbitrator's decision.

10        Q. I s t h e C i t y c u r r e n t l y s e e k i n g t o g e t

11            performance evaluations during the new

12            contract and negotiations?

13        A. W e d i d i n t h e n e g o t i a t i o n s t a g e , b u t n o w t h a t

14            we are at the mediation stage I don't know

15            what I'm allowed to discuss on mediation.

16            There's rules of mediation that, forgive me, I

17            don't know what we're allowed to discuss

18            because we're in mediation, but I will say

19            that when we were actively negotiating with

20            the union we were -- that was one of the

21            things that we put on the table is performance

22            evaluations.

23        Q. T h e c i t y c h a r t e r g i v e s y o u a s c o m m i s s i o n e r t h e




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 1             power and duty to govern and discipline

 2             officers, right?

 3        A. W e l l , t h e c o n t r a c t u a l a g r e e m e n t a n d

 4             contractual language sets forth the policy and

 5             procedures of discipline.                    So whether or not I

 6             could on my own invoke some form of

 7             discipline, I will lose that to an arbitrator

 8             and an arbitrator has all authority by

 9             contract between the union and the City and

10             it's been that way for decades.                           I don't know

11             when that agreement was signed, but it goes

12             back a long way.

13        Q. S o y o u b e l i e v e t h a t t h e c o l l e c t i v e b a r g a i n i n g

14             agreement supersedes any rights that you have

15             under the city charter to govern and

16             discipline officers?

17                       MR. RUSS:         Objection to form.                  You may

18             answer.

19        A. W i t h r e l a t i o n t o d i s c i p l i n e , y e s .       There's

20             contractual language on how that process plays

21             out.

22        Q. D o e s t h e B P D h a v e a n e a r l y w a r n i n g s y s t e m t o

23             identify officers who engage in problematic




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 1            practices?

 2                       MR. RUSS:         Objection to form.                  You may

 3            answer.

 4        A. W e h a v e a p r o g r a m t h a t I n t e r n a l A f f a i r s u s e s

 5            called IAPro.            It has the ability to do it but

 6            because of contractual limitations we are not

 7            able to act upon any early intervention

 8            system.        That would have to be agreed upon,

 9            negotiated with the union.

10        Q. A n d i s t h a t p a r t o f t h e n e g o t i a t i o n s t h a t a r e

11            happening now with the new contract?

12        A. A n e a r l y w a r n i n g s y s t e m , I d o n ' t r e c a l l o r

13            believe that it was part of the initial

14            negotiations.

15        Q. A n d w e r e t h o s e n e g o t i a t i o n s - - s o r r y .     Did

16            this latest round of negotiations, did that

17            begin during your time as commissioner or was

18            that something that began under Lockwood and

19            that you continued?

20        A. W e l l , I w i l l s a y w h i c h t i m e ?      So I was only

21            remotely involved in one aspect of the

22            negotiations that led to the binding

23            arbitration and then ultimately the binding




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 1        Q. O k a y .    Are you aware that the traffic stop

 2            receipt data shows racial disparities in that

 3            Black drivers are stopped more often than

 4            White drivers?

 5                       MR. RUSS:      Objection to form.            You may

 6            answer.

 7        A. S o I - - a n d t h i s w a s c o v e r e d i n d e p t h a n d e v e n

 8            not aired.        You have to look at -- a lot

 9            deeper into the data.              Break it down by each

10            patrol district, you will see differences in

11            the data.        And then what was not aired, what

12            was not put on anything is you're

13            automatically assuming that everybody that got

14            a stop receipt in a particular area lives

15            within that same census tract area.

16                       You cannot -- and there are studies

17            showing that you should not, cannot use census

18            tract data compared and overlaid with traffic

19            stop data, traffic stop receipt data, summons

20            data for that census tract area unless you dug

21            into every single one of those stop receipts

22            or summonses and then looked to see exactly

23            where those individuals live.                    You're assuming




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 1            that someone is only being stopped within the

 2            census tract data tract that they live in.

 3            There's a lot of variables that come into

 4            place.        And you're also assuming that someone

 5            was not stopped for a valid reason.                         If

 6            there's a valid reason, then by law we have

 7            every ability to stop somebody.

 8        Q. O k a y .    I'm looking at the situation of the

 9            traffic stop receipt data.

10        A. I u n d e r s t a n d .

11        Q. A n d i t s h o w s t h a t B l a c k d r i v e r s a r e s t o p p e d

12            more often than White drivers based on what

13            your officers reported of the race of the

14            people stopped, and I'm asking is that

15            something that you're aware of?

16                       MR. RUSS:         Objection to form.             You may

17            answer.

18        A. I t h i n k I d i d a n s w e r t h e q u e s t i o n .    I looked

19            at the --

20        Q. I a m l o o k i n g f o r a y e s o r n o a n s w e r .        Are you

21            aware of those disparities?

22                       MR. RUSS:         Objection to form.             You may

23            answer.




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 1        A. I ' m a w a r e o f t h e d a t a .

 2        Q. A n d t h e f a c t t h a t i t s h o w s a r a c i a l d i s p a r i t y ?

 3                       MR. RUSS:         Objection to form.               You may

 4            answer.

 5        A. I t d e p e n d s o n h o w y o u w a n t t o l o o k a t t h e

 6            data; that's my answer.

 7        Q. A r e y o u a w a r e t h a t t h e d a t a s h o w s t h a t B l a c k

 8            drivers are stopped more often than White

 9            drivers?

10                       MR. RUSS:         Objection to form.               You may

11            answer.

12        A. I ' v e a n s w e r e d t h e q u e s t i o n i n n u m e r o u s w a y s .

13        Q. W e l l , a c t u a l l y , y o u h a v e n ' t a s k e d - - y o u h a v e

14            not directly answered that question.

15        A. I m a y n o t h a v e a n s w e r e d i t t h e w a y y o u r - -

16                       MR. RUSS:         He has answered it several

17            times.

18        A. I m a y n o t h a v e a n s w e r e d i t t h e w a y y o u w a n t m e

19            to answer it, but I've answered the question.

20            It's a deeper answer.

21        Q. W e l l , I ' m n o t a s k i n g f o r a n e x p l a n a t i o n o f t h e

22            reason, your opinion of whether it's right or

23            wrong.        I'm just asking if you're aware of the




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 1             numbers.

 2                       MR. RUSS:         Objection to form.               You may

 3             answer.

 4        A. I a m a w a r e o f t h e n u m b e r s , y e s .        I have not

 5             looked at the numbers recently.                        I'm aware of

 6             the numbers as of the last time I pulled them,

 7             and I don't know when that was.

 8        Q. A n d h a v e y o u i n v e s t i g a t e d t h e r e a s o n s f o r

 9             those disparities?

10        A. I i n v e s t i g a t e c o m p l a i n t s t h a t c o m e i n t o

11             Internal Affairs.              If there's no complaints,

12             then I have to assume that the reason for the

13             traffic stop was a valid reason and that the

14             motorist that was stopped, for whatever reason

15             that was, did not file a complaint.                          They must

16             have felt that there was a valid reason why

17             they were stopped as well.

18                       And you have to remember not every

19             traffic stop ends up in a traffic stop

20             receipt.        Some of those end with a traffic

21             summons being issued, and the racial data is

22             not collected on the traffic summons by New

23             York State.          That's a New York State summons,




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 1             not a City of Buffalo summons.

 2        Q. O k a y .     And I'm still talking about traffic

 3             stop receipts, and I asked whether you

 4             investigated the reason for those disparities

 5             and I understood the answer to that question

 6             to be no; am I correct?

 7                       MR. RUSS:          Objection to form.                You may

 8             answer.

 9        A. U n l e s s t h e r e ' s a n I n t e r n a l A f f a i r s c o m p l a i n t

10             filed, then there is no investigation.

11        Q. D o y o u b e l i e v e B l a c k d r i v e r s c o m m i t m o r e

12             traffic violations than White drivers?

13                       MR. RUSS:          Objection to form.                You may

14             answer.

15        A. I h a v e n o d a t a t o s u g g e s t t h a t .

16        Q. I d o r e c a l l t h a t w h e n t h e W I V B r e p o r t e r a s k e d

17             you about traffic stop receipt disparities,

18             you said that the data was not looked at deep

19             enough and I heard you say that again today in

20             this deposition.              Did you, yourself, ever do a

21             deeper look into the data that you said was

22             needed?

23        A. I d i d n ' t s a y i t w a s n e e d e d .        I told them that




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 1            if they wanted to make certain allegations

 2            that they should look deeper into that.                       I

 3            have not done an analysis based on addresses

 4            where people live and where they received a

 5            summons or where they were stopped.                     I respond

 6            to complaints, and I've explained the

 7            disciplinary process.              I've explained the

 8            investigative process, the complaint process.

 9                       If somebody feels that they were

10            stopped -- and I've been on TV on this, in

11            that very interview.             If somebody believes

12            that they were stopped for an invalid reason

13            or for reasons other than committing a traffic

14            offense or for reasonable suspicion based on

15            articulable facts that they are encouraged,

16            not even asked, they are encouraged to come in

17            and file a complaint and we will investigate

18            that.      Our department has made significant

19            changes over the years with technology in the

20            advent of body cameras and that really helps,

21            you know, to investigate complaints and I

22            don't have complaints.

23        Q. A r e y o u a w a r e - - a n d n o w I ' m g o i n g t o m o v e o n




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 1        Q. W e l l , n o w t h a t y o u k n o w t h a t i t i s p o s s i b l e t o

 2            enter the race of the person ticketed into

 3            TraCS, have you considered issuing a general

 4            order requiring officers to collect and record

 5            that information?

 6        A. N o .       I don't control New York State TraCS

 7            system to make that field open and a part of

 8            the TraCS summons so my answer was no.

 9        Q. W e l l , o k a y .   And that's based on the fact that

10            you think that the -- I'm sorry, I don't

11            understand the reason.                I didn't understand

12            that answer.          You testified that you learned

13            that it is possible to enter race into TraCS,

14            correct?

15        A. I k n o w t h a t n o w , y e s , t h a t i t i s p o s s i b l e .

16        Q. O k a y .     And given that it is possible to enter

17            race into TraCS, have you considered ordering

18            your officers to enter the race of the person

19            ticketed into TraCS?

20        A. I d i d n o t i s s u e a g e n e r a l o r d e r .     No, I have

21            not considered it.

22        Q. D o y o u t h i n k i t ' s i m p o r t a n t t o b e a b l e t o

23            identify racial disparities in the BPD's




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 1             racial disparities in ticketing, and I would

 2             like a yes or no answer.

 3        A. I t ' s a p r i o r i t y f o r m e t o i n v e s t i g a t e a l l

 4             complaints of alleged misconduct or other

 5             allegations, and I will investigate those

 6             complaints but, you know, simply looking at

 7             one dataset.           Was the traffic stop for a valid

 8             reason?        If it was, then that's the end of the

 9             conversation at that point for that traffic

10             stop.      If a complaint is made, I can

11             investigate that complaint.                      I don't have any

12             complaints that I'm aware of for someone who

13             was pulled over and they felt that they were

14             improperly pulled over.

15        Q. I n t e r e s t i n g l y r i g h t i n t h a t W I V B i n t e r v i e w

16             that you gave on TV they interviewed a person

17             who was a Black man who said that he was --

18             had been improperly pulled over because of his

19             race.      Did you investigate that situation?

20                       MR. RUSS:         Objection to form.                You may

21             answer.

22        A. D i d h e f i l e a c o m p l a i n t w i t h I n t e r n a l A f f a i r s ?

23             I remember the story obviously.                         I just don't




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 1             remember who the person was, what were they

 2             written a summons for, or what were they

 3             stopped for.            Was that stop valid and legal?

 4             That's what I have to look at, if the stop was

 5             valid and legal.

 6        Q. W e l l , d i d y o u a s k I n t e r n a l A f f a i r s t o o p e n a n

 7             investigation of the racial profiling that was

 8             alleged in that media interview?

 9        A. I d i d n o t .       The --

10                       MR. RUSS:          Objection to form.                You may

11             answer.

12        A. T h e i n d i v i d u a l d i d n ' t c o m e f o r w a r d t h a t I ' m

13             aware of to Internal Affairs.                        And as part of

14             that media interview, I also said -- and I

15             don't know if it made it to air, but I also

16             said on several occasions that we encourage

17             people to come forward if they believe that

18             they were the subject of racial profiling, if

19             they believe that the stop was not valid.                                 I

20             said that on numerous occasions in that

21             interview.

22        Q. I s n ' t t h e d e p a r t m e n t r e q u i r e d t o i n v e s t i g a t e

23             allegations regardless of how they're




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 1            received, even without -- even without a

 2            formal complaint being filed by that

 3            individual, here you have an individual saying

 4            right on TV that they were stopped because of

 5            their race, why not open an investigation on

 6            that?

 7                       MR. RUSS:        Objection to form.              You may

 8            answer.

 9        A. W e l l , a s y o u s a i d , I r e s p o n d t o a l l e g a t i o n s .

10            If I have a complaint, if I have an

11            allegation, come forward and we will

12            investigate that.              I need facts to move

13            forward with an investigation.

14        Q. D o e s t h e B P D h a v e a w r i t t e n p o l i c y t h a t

15            prohibits the use of racial slurs or racially

16            derogatory language by officers?

17        A. Y e s , I t h i n k y o u r e a d i t e a r l i e r .

18        Q. I ' m s o r r y , w h e r e d i d I - - w h e r e d i d I r e a d

19            that earlier?

20        A. W h e n w e w e r e l o o k i n g o v e r o n e o f t h e

21            complaints, wasn't that in one of the sections

22            that you read?            A section on profane language,

23            we had a discussion on that.                     I thought you




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 1             read something -- or brought something up on

 2             that before.

 3        Q. S o - -

 4        A. B u t , y e s , w e d o h a v e p o l i c i e s o n t h a t .

 5        Q. O k a y .    So it would be the general policies

 6             that prohibit profane language and require

 7             courtesy and respect.                 Other than that, is

 8             there anything specific -- specifically on

 9             racially derogatory language?

10        A. I m e a n , t h e r e ' s s e c t i o n s o n o f f i c e r s ' c o n d u c t .

11        Q. A n d , a g a i n , t h o s e a r e - - t h o s e w o u l d b e

12             general conduct but I'm wondering if there is

13             anything specific that you know of

14             specifically on the use of racially derogatory

15             language?

16        A. Y e a h , i t ' s i n t h e r e .     I just don't know

17             exactly where it is off the top of my head.

18             I'd have to pull it up.

19        Q. A r e y o u f a m i l i a r w i t h s i g n s p o s t e d o n b u l l e t i n

20             boards in station houses that prohibit the use

21             of racial slurs or racial profiling?

22        A. N o .

23        Q. A n d a r e t h e r e a n y s u c h s i g n s p o s t e d o n




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 1            significantly offended that that was purported

 2            to be widespread in the normal course of

 3            business.

 4        Q. S o d i d y o u e v e r d o a n y i n v e s t i g a t i o n o r

 5            auditing to assess whether his testimony was

 6            valid?

 7        A. I d o n ' t k n o w h o w I w o u l d c o n d u c t a n

 8            investigation other than asking everybody one

 9            by one if you talk that way as a regular

10            course of your business.                 Again, I can only

11            operate on complaints that come in and I also

12            have every expectation that the supervision of

13            this police department and the officers that

14            work in this department that if they heard,

15            you know, any type of offensive language,

16            whatever it is, that they would -- they would

17            report it and act upon it.

18                       MR. RUSS:       And, Claudia, as you know,

19            that testimony came in a deposition which is

20            part of another lawsuit against Buffalo Police

21            Department and various individuals.

22                       MS. WILNER:        I'm not -- I'm only

23            aware -- I'm aware of what's happening in this




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 1             question, and he will give his answer.

 2        Q. A n d I t h i n k y o u r a n s w e r o n p r o g r e s s i v e

 3             discipline was no, correct?

 4        A. W e d o n o t h a v e a d i s c i p l i n a r y m a t r i x , n o .

 5             That would have to be negotiated with the

 6             union and for them to accept the discipline

 7             that comes along with a particular case.

 8             Otherwise, it goes to the arbitrator.                              They

 9             don't have to accept any discipline.                             The

10             member is free to reject any discipline that

11             is offered by the commissioner of police at

12             which point it will go to a formal hearing or

13             go to disciplinary triage.                      If it cannot be

14             resolved at that level, then it goes to a

15             formal hearing and that could take a year,

16             that could take two years, it could take three

17             years.

18        Q. S i n c e b e c o m i n g c o m m i s s i o n e r , a n d s e t t i n g a s i d e

19             the Amber Beyer situation, have you brought

20             charges against any officers for using racial

21             slurs or racially derogatory language?

22        A. N o , n o t t h a t - - n o .         I don't believe so, no.

23             Nothing stuck out in my head.




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 1        Q. S i n c e b e c o m i n g c o m m i s s i o n e r , h a v e y o u h a n d l e d

 2             complaints of officers engaging in racial

 3             profiling or racially biased policing?

 4        A. N o .

 5        Q. A n d h a v e y o u e v e r d i s c i p l i n e d a n o f f i c e r f o r

 6             engaging in racially biased policing?

 7        A. I d o n ' t b e l i e v e I ' v e h a d a n y s u b s t a n t i a t e d

 8             complaints of that.                  You're saying outside of

 9             the named member, or are you including the

10             named member Amber Beyer?

11        Q. O u t s i d e o f - - o u t s i d e o f A m b e r B e y e r .

12        A. O u t s i d e o f A m b e r , n o , I d o n ' t - - I d o n ' t

13             believe I've had any complaints come in in

14             that regard.

15        Q. A r e y o u a w a r e o f i n s t a n c e s i n w h i c h t h e B P D

16             has received more than one complaint against

17             the same officer for racial discrimination?

18        A. S i n c e b e c o m i n g c o m m i s s i o n e r ?

19        Q. W e l l , j u s t g e n e r a l l y a r e y o u a w a r e o f o f f i c e r s

20             that have multiple racial discrimination

21             complaints against them?

22        A. I m e a n , y o u ' v e p o i n t e d o u t a f e w b u t o u t s i d e

23             of that, I have not seen too much of those




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 1        Q. S o o t h e r t h a n t h e f o r m a l I A D c o m p l a i n t

 2            process, do you have any other systems that

 3            are set up to alert you to multiple --

 4            officers who have received multiple

 5            complaints?

 6        A. I d o n ' t h a v e a s y s t e m , b u t t h e A t t o r n e y

 7            General of New York has a system in place

 8            which I'm sure you're familiar with.                             If -- we

 9            have to provide any member of the department

10            that has acquired five cases in a 24-month

11            time frame regardless of the outcome of those

12            cases, those complaints, whether they're

13            unfounded or sustained, any five within a

14            24-month time frame must be sent to the

15            attorney general.              The captain in Internal

16            Affairs gathers those files, has a system in

17            place set forth by the attorney general and

18            sends those out and then the attorney general

19            opens up their own investigation.

20        Q. A n d w h e n t h o s e a l e r t s a r e s e n t t o t h e a t t o r n e y

21            general, do you get copies of them as well?

22        A. C o p i e s o f t h e f i l e s ?    We already have the

23            files in our possession.                  We're the ones




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                                      JOSEPH GRAMAGLIA


 1             discovery.          Going on --

 2                       MR. RUSS:         We can talk about it.

 3             BY MS. WILNER:

 4        Q. S i n c e b e c o m i n g c o m m i s s i o n e r , h a v e y o u m a d e

 5             changes to the way the Internal Affairs

 6             Division operates?

 7        A. Y o u m e a n b y p o l i c y ?      No.

 8        Q. A n d a r e y o u f a m i l i a r w i t h t h e q u a r t e r l y I A P r o

 9             meetings?

10        A. W e l l , I ' m a w a r e o f - - w e h a v e n o t c o n d u c t e d a

11             quarterly IAPro meeting; it's been quite some

12             time, you know.             IAPro meetings were put into

13             place a long time ago for the purposes of what

14             you brought up as early intervention.                             We

15             can't act on that.               We act on every individual

16             complaint as it comes in.                    So, you know, I

17             think outside of a quarterly meeting that I

18             can't take action on, I'm aware of every

19             complaint when it comes in and what the

20             investigative process is and we review those

21             mostly on a weekly basis --

22        Q. I s e e .

23        A. - - w i t h I n t e r n a l A f f a i r s .




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 1            IAPro alerts.           I can't act on early

 2            intervention.

 3        Q. A n d s o d o t h e I A P r o a l e r t s g o t o t h e

 4            lieutenants, captains, and chiefs?

 5        A. I j u s t a n s w e r e d t h a t .     We don't send out IAPro

 6            alerts because we can't act on them.

 7        Q. I s e e .     And that's been -- you sent them

 8            once -- at one time you did send them, but

 9            then you stopped sending them prior to COVID

10            or?

11        A. I d i d n ' t s e n d t h e m .       We had IAPro quarterly

12            meetings.         I attended them when I was a

13            district chief.            When I became deputy

14            commissioner, we had some.                     I felt they really

15            weren't productive when I went to them

16            because, as I said many times, we can't act --

17            we have to act on each individual complaint as

18            it comes in.           I can't act in a generalization

19            to say I think you're trouble.                        There is no

20            mechanism in place in the contractual

21            agreements that I can act on somebody because

22            I believe that they are in trouble -- or they

23            are a trouble.




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 1                       Additionally, we have to look at the

 2            complaints on the merits of the complaints and

 3            where the investigation goes and what evidence

 4            is produced.           So, you know, you can't just

 5            take into an assumption because a complaint is

 6            made that an officer is in the wrong.                            If they

 7            are in the wrong, we need the evidence to

 8            substantiate that and we will take

 9            disciplinary action if we have the evidence to

10            prove it.

11        Q. A r e y o u f a m i l i a r w i t h m a j o r a n d m i n o r

12            violations?

13        A. W e l l t h e t e r m , y e s .

14        Q. W o u l d a n a l l e g a t i o n t h a t a n o f f i c e r u s e d a

15            racial slur be a major or a minor violation?

16                       MR. RUSS:        Objection to form.                 You may

17            answer.

18        A. I m e a n , w e d o n ' t h a v e a l i s t o f t h i s i s m a j o r ,

19            this is minor.            I think there's -- it's just

20            kind of known as major and minor violations.

21            So I -- there's no list where this is

22            considered.          I would consider a major

23            violation not to and including but if there




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                                      JOSEPH GRAMAGLIA


 1        Q. N o .

 2        A. I t w a s j u s t t r a f f i c s u m m o n s e s ?

 3        Q. C o r r e c t .

 4        A. I m e a n , I g u e s s t h a t w o u l d b e u p t o a c o u r t t o

 5            determine whether or not there was a violation

 6            there, but that's where the case ended at that

 7            point.

 8        Q. W h e n y o u w e r e l o o k i n g a t t h i s c a s e , d i d y o u

 9            look at Officer Garry's disciplinary history?

10        A. I d o n ' t r e c a l l i f I d i d o r I d i d n ' t b u t ,

11            again, looking back on it, I look at the facts

12            and circumstances of this case.                       Whatever is

13            in the prior history that is proven, just like

14            in a criminal case, you have to look at the

15            facts and circumstances of the case that is

16            before you right now.                 I can't find that an

17            officer violated policy on something because

18            of a past history of doing something.                         He has

19            to be or she has to be held accountable for

20            the actions of the case at hand in that

21            particular case.

22        Q. O k a y .    And so I am looking at Officer Garry's

23            disciplinary history which is part of the IAD,




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 1            STATE OF NEW YORK)

 2            COUNTY OF ERIE         )

 3

 4
                 I, Carrie A. Fisher, Notary Public, in and
 5            for the County of Erie, State of New York, do
              hereby certify:
 6

 7               That the witness whose testimony appears
              hereinbefore was, before the commencement of
 8            their testimony, duly sworn to testify the
              truth, the whole truth and nothing but the
 9            truth; that said testimony was taken remotely
              pursuant to notice at the time and place as
10            herein set forth; that said testimony was
              taken down by me and thereafter transcribed
11            into typewriting, and I hereby certify the
              foregoing testimony is a full, true and
12            correct transcription of my shorthand notes so
              taken.
13

14               I further certify that I am neither counsel
              for nor related to any party to said action,
15            nor in anyway interested in the outcome
              thereof.
16

17               IN WITNESS WHEREOF, I have hereunto
              subscribed my name and affixed my seal this
18            11th day of October, 2023.

19

20                       ________________________________

21                       Carrie A. Fisher
                         Notary Public - State of New York
22                       No. 01FI6240227
                         Qualified in Erie County
23                       My commission expires 5/02/27




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